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UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA

Francisca Sandoval, Ines Hernandez,
Miriam Pachecho, Eva Reyes, Court File No. 06-CV-01772(RHK/JSM)

Arminda Gomez, Nidia Guertrero,
Lucila Marquez, Maria Perez,
Azucena Garcia, Estela Laureano,
And Marlene Giron,

Plaintiffs, AFFIDAVIT OF
MARK LANTERMAN

Y.

American Building Maintenance Industries,
Inc., a/k/a ABM Industries Incorporated
d/b/a ABM Janitorial Services, and
American Building Maintenance Co.

of Kentucky,

_ Defendants.

Mark Lanterman, being duly sworn, states as follows:

1. My name is Mark Lanterman. I am the Chief Technology Officer for Computer
Forensic Services, Inc. located in Minnetonka, Minnesota. Our firm specializes in the forensic
examination of computer data in conjunction with law enforcement agencies and law firms.
Prior to joining CFS, I was a criminal investigator with over eleven years of law enforcement
experience. During my last three years in law enforcement J was assigned to the United States
Secret Service Electronic Crimes Task Force as its senior computer forensic analyst.

2, In connection with my current and former employment, I have supervised or
patticipated in dozens of search warrant executions for digitally stored (computerized) records

and evidence. I am certified by the United States Department of Homeland Security as a “Seized
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Computer Evidence Recovery Specialist", as well as being certified in computer forensics by the
National White Collar Crime Center and the International Information Systems Forensics
Association, I have conducted seminars and training for the United States Secret Service, the
Minnesota State Bar Association, the Hennepin County Bar Association, the International
Association of Chiefs of Police, the Federal Bureau of Investigation, the New York State Bar, the
California State Bar, the Wisconsin State Bar, Glasser Legal Works and the Minnesota Institute
for Legal Education. I have also testified as an expert in numerous criminal and civil legal
proceedings, in both federal and state courts. Attached ig my CV describing in more detail my
qualifications and experience.

3. I have been retained as a court appointed neutral computer forensic analyst to the
_ Honorable District Judge Patricia Kerr-Karasov (Hennepin County, MN) and the Honorable A.P.
Fuller (Pennington County Seventh Judicial Circuit, SD)

4, Some of my representative cases include: Pioneer Press v. Star Tribune; Afremov
vy. AGA Medical; ING v. KMG America; Roberts v. Canadian Pacific Railroad (Minot train
derailment).

5. Jacqueline Mrachek of the Greene Espel firm has previously retained me on a
sexual harassment civil matter.

6. The firm of Miller and O’Brien has retained me in this case.

7... | have reviewed several deposition transcripts in this case and it is my
understanding that electronic communications are used by employees of American Building
Maintenance Industries, Inc. to discuss internal matters including employment policies, trainings,

complaints, investigations and corrective actions which may be pertinent to Plaintiffs’ case.
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8. I have had an opportunity to review the deposition transcripts of Julie Mork,
Charles Ketchum, Robert Janacek, Jeff Southard and Dan MacDonald. It is apparent from the
transcripts that Mork, Ketchum, Southard, Jacacek and MacDonald possess neither the
experience nor the training necessary to conduct a comprehensive search for electronic files
relevant to this litigation.

9, The creation of a "drive image" is recognized by the computer forensic
community as the proper way to preserve original electronic evidence.

10. In order to explain the importance of drive imaging, I need to briefly clarify the
difference between hard drive imaging and making an electronic copy of individual files. When a
computer file is saved to a storage disk, it is saved in randomly scattered sectors on the disk
rather than in contiguous, consolidated blocks; when the file is retrieved, the scattered pieces are
reassembled from the disk in the computer's memory and presented as a single file. Imaging the
disk copies the entire disk exactly as it is, including all the scattered pieces of various files (as
well as other data such as deleted file fragments). The image allows a computer forensic analyst
to recreate (or “mount") the entire storage disk and have an exact copy just like the original. In
contrast, a file-by-file copy (also known as a “logical file copy") merely creates a copy of an

individual file by reassembling and then copying the scattered sectors of data associated with the

particular file.

IL. It is also important to understand that when a user "deletes" files, the files are not
necessarily unrecoverable. Until the file is "overwritten" by another file, the “deleted” file is still
subject to being recovered. As such, it is essential to preserve all involved computer hard drives

as soon as possible since deleted, but relevant, data may be overwritten and destroyed.
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12. [have designed the following protocol to be used in the production of the relevant
data:

(a) First, all computers and storage media containing relevant data would be
sent directly to me for imaging in the manner described above. In the event that a system

_or storage media cannot be sent to me, I would arrange to make the required images on
site.

(b) Second, the hard drives and computers would be returned to Defendants’
attorneys as soon as possible so as to avoid undue disruption to the Defendants.

(c) Third, I would prepare, from the imaged drives and a list of search terms
provided by Plaintiffs, a file detail log to be provided to both Defendants and Plaintiffs.
The log would list each relevant document on the hard drive with the document's file
name; file extension (i.e., whether the document is a word document or power point
presentation); whether the file has been deleted; the date and time when the file was
created, last accessed, and last altered; the size of the file; and the location on the hard
drive.

(d) Fourth, I would provide the Defendants’ counsel a copy of all documents

containing one or more search terms from the individual drives, so that they have the

opportunity to assert privilege or non-responsiveness.

13. In order to locate pertinent information such as that referred to in Ms. Mork’s
deposition, it is necessary for me to conduct an examination of all devices containing data related
to this matter, using the procedure I describe above. This would include the workstations of any
employees who have communicated about this matter, the email server if one exists, the file

server if one exists, and any other workstation or server which may contain data which is
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pertinent to this case. This would be the only way to independently verify or refute the veracity
of Defendants assertions they have produced all responsive records.

Further Affiant sayeth not.

[oe eam Zo

Mark Lanterman

Subscribed and sworn to before me this
(2 day of “Sone , 2007.

MARK W. LEDBETTER

. ey NOTARY PUBLIC - MINNESOTA

